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JS 44 (Rev. 06/17)

ptovided by focal rules of court. This fonn, approved by the Judicial Conference of the

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papers as required by law, except as

nited States in

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

ptember 1974, is required for the use of the Clerk of Court for the

SANSA BMIEES

(b)} County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c)

Gloucester

COMPANY

County of Residence

Katherine C. Oeltjen Esquire
Console Mattlace!l Law, LLC

110 Marter Avenue, Suite 502, Moorestown, NJ 08057 215-545-7676

Atlomeys (Firm Name, Address, and Telephone Number)

NOTE:
THE TRACT

Attomeys (If Known)

of First Listed Defendant

oP RO ANGRPORATION d/bla STARBUCKS COFFEE

King

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

Il, BASIS OF JURISDICTION (Piace an "xX" in One Box Only) It, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x in One Box for Plaintify
(For Diversity Cases Only) and One Box for Defendant)
1 U.S. Government 3 Federal Question PTF DEF PTF = DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Ot © 1 Incorporated or Principat Place o4 a4
of Business In This State
O2 U.S. Government O 4 Diversity Citizen of Another State 2 O 2. tncorporsted and Principal Place o5 a5
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Citizen or Subject of a O3 O 3 Foreign Nation go6 o6
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IV. NATURE OF SUIT (Piace an “. ) Click here for: Nature i Code Descriptions.
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Exchange

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© [60 Stocktiolders* Suits © 355 Motor Vehicle © 371 Truth in Lending Act

D 190 Other Contract Product Liability € 380 Other Personal TI 720 Labor/Management

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© 362 Personal Injury - Product Liability 6 751 Funily and Medical

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& 791 Employce Retirement

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Other O 550 Civil Rights Actions

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Conditions of

Confinement

CF 865 RSI (405(2))

J 891 Agricultural Acts

© 893 Environmental Matters

© 895 Freedom of Information
Act

896 Arbitration

or Defendant} © 899 Administrative Procedure
CG 871 IRS—Third Party Act/Review or Appeal of
26 USC 7609 Agency Decision

0 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X™ in One Box Onty)

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Brief description of cause:

Cite the U.S, Civil Statute under which you are filing (Do not cite jurisdictl
42, U.S.C. §200! a CTitle VIP} 42.U.S8.C, §1981 ("

VI. CAUSE OF ACTION

untess di:
1981"): 0:501., et se

Plaintiff brings this action against her former employer for wrongful termination.

VII, REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv,P. in excess of $75,000 JURY DEMAND; MYes CNo
VIII, RELATED CASE(S) /
IF ANY Geeinsinictons Ge DD DOCKET NUMBER
DATE SIGNAY UE NED
10/28/2019 . . :
FOR OFFICE USE ONLY “4 . ' : .
Katherine C. Oeltjen, Esquire
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

Case 1:19-cv-19432-JHS-AMD Document1 Filed 10/28/19 Page 2 of 22 PagelD: 2

IN THE UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW JERSEY

SHANNON PHILLIPS : CIVIL ACTION NO.
Woolwich Township, NJ 08085 :
Plaintiff,

v. : - JURY TRIAL DEMANDED

STARBUCKS CORPORATION d/b/a/
STARBUCKS COFFEE COMPANY
2401 Utah Avenue Suite 800

Seattle, WA 98134

Defendant.

COMPLAINT

I INTRODUCTION

Plaintiff, Shannon Phillips, (“Plaintiff”), an approximately thirteen year employee, was a loyal,
dedicated and high performing Regional Director for Defendant Starbucks Corporation d/b/a
Starbucks Coffee Company (‘‘Defendant”) tasked with overseeing operations of Defendant’s retail
operations in Southern New Jersey, the Philadelphia region, Delaware and parts of Maryland.
Following an arrest of two black men in a store within her region in April, 2018, Plaintiff worked
tirelessly on behalf of Defendant to repair community relations while ensuring employee and
customer safety. Weeks after the arrests and surrounding media coverage, Defendant took steps to
punish white employees who had not been involved in the arrests, but who worked in and around
the city of Philadelphia, in an effort to convince the community that it had properly responded to
the incident. As part of Defendant’s efforts, Plaintiff was ordered to place a white employee (who

had not had any involvement in the arrests) on administrative leave because of an allegation of
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discriminatory conduct that Plaintiff knew to be false. Plaintiff provided information to Defendant
that proved that the details of the allegation were factually impossible amid Defendant’s practices.
Defendant ignored the information provided by Plaintiff. At the same time, Defendant did not take
any steps to punish a black district manager who had been responsible for the management of the
location where the arrests took place. Plaintiff was notified of her termination less than one month
after the arrests on May 9, 2018. Plaintiff now brings claims pursuant to Title VII of the Civil
Rights Act of 1964, as amended, 42. U.S.C. §2000¢, ez. seg. (“Title VII”), the Civil Rights Act of
1866, as amended, 42 U.S.C. §1981 (“Section 1981”), and the New Jersey Law Against

Discrimination, as amended, N.J.S.A. § 10:501, et seq.

Il, PARTIES

1. Plaintiff, Shannon Phillips, is an individual and citizen of New Jersey.

2. Plaintiff is Caucasian/white.

3. Defendant Starbucks Corporation d/b/a Starbucks Coffee Company is organized under the
laws of Washington with its headquarters located at 2401 Utah Avenue, South, Seattle,
Washington, 98134.

4, At all material times, Defendant maintained locations throughout the State of New Jersey,
including without limitation, in Haddonfield and other locations in Camden, County, New Jersey.
5. Defendant is engaged in an industry affecting interstate commerce and regularly does
business in the Commonwealth of Pennsylvania.

6. At all times material hereto, Plaintiff worked for Defendant from her home in Woolwich,

New Jersey and throughout the region assigned to her.

7. At all times material hereto, Defendant employed more than fifteen (15) employees.
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8. At all times material hereto, Defendant acted by and through its authorized agents, servants,
workmen, and/or employees acting within the course and scope of their employment with
Defendant and in furtherance of Defendant’s business.

9. At all times material hereto, Defendant acted as an employer within the meaning of the
statutes which form the basis of this matter.

10. ‘At all times material hereto, Plaintiff was an employee of Defendant within the meaning
of the statutes that form the basis of this matter.

Il. JURISDICTION AND VENUE

11. The causes of action which form the basis of this matter arise under Title VII, Section 1981,
and the NJLAD.

12. The District Court has jurisdiction over Count I (Title VII) pursuant to 42 U.S.C. §2000e-
5 and 28 U.S.C. §1331.

13. The District Court has jurisdiction over Count II (Section 1981) pursuant to U.S.C. §1331.
14. The District Court has jurisdiction over Counts IIT (NJLAD) pursuant to 28 U.S.C. §1332
since the amount in controversy exceeds the sum or value of seventy-five thousand dollars
($75,000), exclusive of costs and interest and as there is complete diversity of citizenship as
Plaintiff is a citizen of New Jersey and Defendant is a citizen of Washington.

15. Venue is proper in this District Court under 28 U.S.C. §1391 (b) and 42 U.S.C. §2000e-
5(f).

16. On or about May 22, 2018, Plaintiff filed a Charge of Discrimination (“Charge”) with the
Equal Employment Opportunity Commission (“EEOC”) complaining of acts of discrimination
alleged herein. Attached hereto, incorporated herein and marked as Exhibit “1” is a true and correct

copy of the EEOC Charge of discrimination (with personal identifying information redacted).
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17, On or about July 30, 2019, the EEOC issued the Plaintiff a Notice of Right to Sue for her
Charge of Discrimination. Attached hereto and marked as Exhibit “2” is a true and correct copy of
the Notice (with personal identifying information redacted).

18. — Plaintiff has fully complied with all administrative prerequisites for the commencement of

this action.
IV. FACTUAL ALLEGATIONS

19. Plaintiff was hired by Defendant in or about December, 2005 as a District Manager based
out of Youngstown, Ohio.

20. Amid her exemplary performance, Plaintiff was promoted in or about 2011 to Regional
Director of Operations for a region encompassing Philadelphia, Southern New Jersey, Delaware
and parts of Maryland. This region was known to Defendant as “Area 71.” In total, Plaintiff
oversaw operations for approximately one hundred (100) retail stores.

21. Plaintiff relocated to New Jersey for the Regional Director of Operations (“RD”) position
and worked out of a home office while also traveling throughout her region.

22. As RD, Plaintiff managed District Managers reporting to her and their portfolio stores. In
addition, and without limitation, she was tasked with touring with real estate partners and brokers
to find new locations for stores; developing new stores, partnering with other departments to
coordinate resources such as vendors, assessing/determining financial impact of new stores on
existing stores, managing special events (such as the Pope’s visit to Philadelphia) and coordinating
community engagement efforts on behalf of Defendant.

23. Plaintiff initially reported to Joe Hallinan, Regional Vice President. Upon Hallinan’s

retirement, Plaintiff reported to Victor Huetz (“Huetz”), Regional Vice President.
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24. Beginning in or about 2015, Plaintiff reported to Camille Hymes (“Hymes”) (black), Vice
President, Operations.

25.  Atall material times, Plaintiff received positive performance evaluations and related merit
driven bonuses and salary increases.

26. Approximately nine (9) District Managers (“DM”) reported to Plaintiff. Each DM had
responsibility for between ten and fourteen stores each and managed the Store Managers (“SM”)
assigned to each retail location.

27. | Two DMs were assigned stores in Philadelphia and reported to Plaintiff: Ben Trinsey
(“Trinsey”) (white) and Paul Sykes (“Sykes”) (black). —

28.  Sykes’s stores included a retail location at 18" and Spruce Street in Philadelphia, PA.

29. On or about April 12, 2018, two Black men were arrested at the 18 and Spruce Street
location.

30. _—_— Plaintiff was not involved in the arrests in any way.

31. Upon learning of the arrest from Sykes, Plaintiff promptly notified Hymes.

32. Plaintiff immediately took steps to learn additional information about the events leading
up to the events and to address strong community reaction following the events.

33. At the same time, amid substantial public sentiment against Defendant, Plaintiff actively
sought to ensure the safety of Defendant’s employees and customers.

34, On or about April 14, 2018, Plaintiff went to the 18" and Spruce Street store with Hymes.
Plaintiff worked with Sykes and the other Philadelphia area DM, Trinsey, to formulate a plan of
support for Defendant, its stores and customers across the city of Philadelphia and to address the

community’s concerns about the arrests. For example, and without limitation:
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a. Plaintiff brought all of her DMs into the city with some of their SMs to offer
additional support to Defendant’s stores and customers;

b. Plaintiff organized teams of management-level employees to work at the
approximately twenty Center City Philadelphia locations as hourly workers were
afraid to come to work amid community protests at Defendant’s retail locations;

c. Plaintiff worked closely with her supervisors to understand what had happened at
the 18 and Spruce Location in an effort to determine appropriate next steps; and,

d. Plaintiff organized multiple round-table events for Defendant’s company-founder
and Chairman Emeritus, Howard Schultz, in Philadelphia so that Defendant could
properly understand the issues surrounding the arrests and adequately address the
public’s reaction.

35. By April 14, 2018, amid the arrests making local and national news, protests from the
public took place outside and inside of the 18th and Spruce Street store.

36. At all material times, Plaintiff actively worked with her subordinates and her superiors to
coordinate Defendant’s efforts at “crisis management” and ensure the safety of Defendant’s
employees and customers at all of Defendant’s stores within the City of Philadelphia.

37. Plaintiff also took steps to ensure that the retail locations within her area were a safe and
welcoming environment for all customers, regardless of race.

38. On April 23, 2018, Hymes encouraged Plaintiff to apply for a Temporary Limited
Assignment position that was being created in Philadelphia to support Defendant’s Government
and Community Affairs unit.

39. Plaintiff was well qualified for the position and she was interviewed.
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40. Following her interview, she was told on or about April 26, 2018 that the position was
being put “on hold.”

4l. On or about May 2, 2018, Defendant reached a settlement with the two men who had been
arrested. According to Defendant’s website, “[t]he agreement between the parties stemming from
the events in Philadelphia on April 12 will include a financial settlement as well as continued
listening and dialogue between the parties and the specific action and opportunity.”

42. Defendant further stated, “And Starbucks will continue to take actions that stem from this
incident to repair and reaffirm our values and vision for the kind of company that we want to be.”
43. | Onor about May 4, 2018, Hymes told Plaintiff to take the weekend off. Hymes further told
Plaintiff that she wanted to speak to employees without Plaintiff being present.

44, On or about May 7, 2018, Plaintiff was called to a meeting with Hymes, Nathalie Cioffi
(“Cioffi”) (white), Partner Resources Director and Paul Pinto (“Pinto”) (white),Vice President,
Partner Resources.

45. Plaintiff was ordered to set up a meeting with Trinsey the following morning and place
him on suspension.

46.  Trinsey was not involved in the April 12" arrests nor did he have any responsibility for the
18" and Spruce Street store.

47.  Trinsey did not have any performance issues.

48. Defendant told Plaintiff there would be an investigation into Trinsey’s conduct, including
allegations of race discrimination that had been made against him.

49. Plaintiff objected and stated that Trinsey is not racist and that she had never observed any

race discriminatory comments or conduct by Trinsey.
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50. __- Plaintiff further explained that Trinsey was a fifteen (15) year employee of Defendant and
that he volunteered every week with YouthBuild Philadelphia, an organization primarily servicing
young, African American/black individuals.

51. In response, Hymes stated that non-white, salaried managers at Trinsey’s stores had made
claims that they were paid less than white employees.

52. Plaintiff continued to object and explained to Hymes that Trinsey could not, by
Defendant’s policies and procedures, determine salaried employee compensation. In fact, Plaintiff
told Hymes, Trinsey could not have any input on employee salaries.

53. Plaintiff further stated that Defendant’s required process is to send employee resumes upon
hire to Partner Resources. Upon receipt of the resume, Partner Resources, and not any DM, sets
employee salaries.

54. Despite the information that Plaintiff provided to Hymes and Pinto indicating that the
allegations against him were factually impossible, Plaintiff was ordered to put Trinsey on
suspension.

55. In contrast, Defendants did not take any action against Sykes, who is African
American/black and was the DM responsible for the store where the men had been arrested. Sykes’
subordinate, who he had promoted to the SM position, was responsible for making the call to
police that lead to the arrests and the subsequent community reaction.

56. On May 8, 2019, Plaintiff was told by Hymes that she should come to a meeting the
following day ready to negotiate her separation package as she was being terminated.

57. The only reason given for her pending termination was “the situation is not recoverable.”
58. When Plaintiff told Hymes, upon learning of her pending termination, that her performance

had been exceptional and that she had last received a bonus only the month prior, Hymes agreed.
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59. On May 9, 2019, Hymes and Pinto formally notified Plaintiff of her termination, effective
immediately.

60. Defendant did not articulate any stated reason other than “the situation is not recoverable.”
61. | Defendant’s stated reason is pre-text for race discrimination.

62. Plaintiff was replaced by substantially less qualified employees who had not complained
of race discrimination by Defendant and had not been working in the region at the time of the
arrests.

63. Plaintiffs race was a motivating and/or determinative factor in Defendant’s discriminatory
treatment of Plaintiff, including without limitation, in connection with her termination.

64. Plaintiff's complaints of race discrimination were a motivating and/or determinative factor
in Defendant’s discriminatory and retaliatory treatment of Plaintiff, including without limitation,
in terminating her.

65. | Asadirect and proximate result of the discriminatory and retaliatory conduct of Defendant,
Plaintiff has in the past incurred, and may in the future incur, a loss of earnings and/or earning
capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem,
mental anguish, and loss of life’s pleasures.

66. Plaintiff is now suffering and will continue to suffer irreparable injury and monetary
damages as a result of Defendant’s discriminatory acts unless and until this Court grants the relief
requested herein.

67. Defendant acted with malice and/or reckless indifference to Plaintiff's protected rights.
68. The conduct of Defendant, as set forth above, was outrageous and warrants the imposition

of punitive damages against Defendant.
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COUNT 1- TITLE VII

69. Plaintiff incorporates by reference paragraphs 1 through 68 above, as if set forth herein in
their entirety.

70. By committing the foregoing acts of discrimination and retaliation against Plaintiff,
Defendant has violated Title VII.

71. Said violations were done with malice and/or reckless indifference to Plaintiffs protected
rights, and warrant the imposition of punitive damages.

72. | Asadirect and proximate result of Defendant’s violation of Title VII, Plaintiffhas suffered
the damages and losses set forth herein and has incurred attorneys’ fees and costs.

73. Plaintiff suffered irreparable injury and monetary damages as a result of Defendant’s
discriminatory acts unless and until this Court grants the relief requested herein.

74. No previous application has been made for the relief requested herein.

COUNT II —- SECTION 1981

75. Plaintiff incorporates by reference paragraphs | through 74 above, as if set forth herein in
their entirety.

76. By committing the foregoing acts of discrimination against Plaintiff, Defendant has
violated Section 1981.

77, Said violations were done with malice and/or reckless indifference to Plaintiffs protected
rights, and warrant the imposition of punitive damages.

78. As a direct and proximate result of Defendant’s violation of Section 1981, Plaintiff has
suffered the damages and losses set forth herein and has incurred attorneys’ fees and costs.

79, Plaintiff suffered irreparable injury and monetary damages as a result of Defendant’s
discriminatory acts unless and until this Court grants the relief requested herein.

80. No previous application has been made for the relief requested herein.

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COUNT Ill - NJLAD

81. Plaintiff incorporates herein by reference paragraphs | to 80 above, as if set forth herein in
their entirety.

82. Defendant, by the above-described discriminatory and retaliatory acts, has violated the
NJLAD.

83. | Defendant’s conduct as set forth herein was especially egregious.

84. Members of Defendant’s upper management had actual participation in, or willful
indifference to, Defendant’s wrongful conduct described herein, and their conduct warrants the
imposition of punitive damages against Defendant.

85. As a direct and proximate result of Defendant’s discriminatory and retaliatory conduct,
Plaintiff has sustained the injuries, damages, and losses set forth herein, and has incurred attorney’s
fees and costs.

86. Plaintiff is now suffering and will continue to suffer irreparable injury and monetary
damages as a result of Defendant’ discriminatory, retaliatory, and unlawful acts unless and until
this Court grants the relief requested herein.

87. No previous application has been made for the relief requested herein.

RELIEF
WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection with

Defendant’s improper conduct, and specifically prays that the Court grant the following relief to

Plaintiff by:
a. Declaring the acts and practices complained of herein to be in violation of Title VII;

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b. Declaring the acts and practices complained of herein to be in violation of Section 1981;

c. Declaring the acts and practices complained of herein to be in violation of the NJLAD;

d. Enjoining and permanently restraining the violations alleged herein;

e. Entering judgment against the Defendant and in favor of the Plaintiff in an amount to be
determined;

f. Awarding compensatory damages to make the Plaintiff whole for all lost earnings, earning
capacity, and benefits, which Plaintiff has suffered as a result of Defendant’s improper
conduct;

g. Awarding compensatory damages to Plaintiff for past pain and suffering, emotional upset,
mental anguish, humiliation, and loss of life’s pleasures, which Plaintiff has suffered as a
result of Defendant’s improper conduct;

h. Awarding punitive damages to Plaintiff under Title VII;

i. Awarding punitive damages to Plaintiff under Section 1981;

J. Awarding punitive damages to Plaintiff under the NJLAD;

k. Awarding Plaintiff other such damages as are appropriate under Title VII, Section 1981,
and the NJLAD;

|. Awarding Plaintiff the costs of suit, expert fees and other disbursements, and reasonable
attorneys’ fees; and

m. Granting such other and further relief as this Court may deem just, proper, or equitable
including other equitable and injunctive relief providing restitution for past violations and

preventing future violations.

CONSOLE \THIACI L OFFICES LLC
Dated: October 28, 2019 BY:

Stephen G. Console, Esquire (36656)

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Katherine C. Oeltjen, Esquire (318037)
1525 Locust Street, 9" Floor
Philadelphia, PA 19102

(215) 545-7676

Attorneys for Plaintiff Shannon Phillips

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EXHIBIT |
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CHARGE NUMBER
| CRIMINATION AGENCY

AMENDED CHARGE OF DISCR a REPA

This form is affected by the Privacy Act of 1974; See privacy statement before | X EEOC 530-2018-02412
consolidating this form.

STATE OR LOCAL AGENCY: Pennsylvania Hunan Relations Commission;
Philadelphia Commission on Human Relations
OME TELEPHONE NUMBER (Include Area Code)

NAMB (Bidicate Mr., Mss, Mrs.) et=ey VOU IaB)
Shannon Phillips : -

STREET ADDRESS CITY, STATE AND ZIP DATE OF BIRTH

Woolwich Township, NJ 08085

N ENCY, APPRENTICESHIP, COMMITTEE,
AME THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AG ,
NATE OF LOCAL GOVERNMENT WHO DISCRIMINATED AGAINST ME (Ifmore than one than list below)

NAME NUMBER OF EMPLOYEES, MEMBERS | TELEPHONE (Include Area Code)
Starbucks Corporation; > 20 (800) 782-7282

Starbucks Coffee Company

STREET ADDRESS CITY, STATE AND ZIP COUNTY

2401 Utah Avenue S. #800 Seattle, WA 98134 King

CAUSE OF DISCRIMINATION (Check appropriate box(es)) DATE DISCRIMINATION TOOK PLACE

X Race Q Color QSex Q Religion Q National Origin

X Retaliation QAge Disability Q Other (Specify) Earliest Latest 05/09/2018
The Particulars Are:
A. 1. Relevant Work History

| was hired by Respondents in or about December 2005. | held the position of Regional Director. | reported to Camille
Hymes (black), Regional Vice President, since 2015. Hymes reports to Zeta Smith (black), Divisional Senior Vice
President, who reports to Rossann Williams (white), Executive Vice President, President, U.S. Retail. Williams reports to
Rosalind Brewer (black), Chief Operating Officer and Group President, who reports to Kavin Johnson (white), President
and Chief Executive Officer. | worked out of my home office in New Jersey.

Respondents terminated my employment because of my race and because | had complained of race discrimination.

\ consistently demonstrated excellent performance and dedication to Respondents. | performed my job duties and
responsibilities in a highly competent manner. | recelved positive feedback throughout my employment at Respondents.

x I want this charge filed with both the EEOC and the State or local Agency, | NOTARY - (when necessary for State and Local Requirements)
ifany. T will advise the agencies it'I change my address or tclephone number
and cooperate fully with them in the processing of my charge in accordance I swear of affirm that I have read the above charge and that it is true
with their procedures to the best of my knowledge information and belief.

I declare under penalty or perjury that the foregoing is true and correct.

Date: Charging Party (Signature): SIGNATURE OF COMPLAINANT oo

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é

EEOC Charge of Discrimination
Page 2 of 4
Initials of Charging Party ~

2. Harm Summary

Respondents discriminated against me because of my race (white) and retaliated against me
because of my complaints of race discrimination. Evidence of the discriminatory and retaliatory
conduct to which | have been subjected includes, but is not limited to, the following:

(a)

(b)

{c)

(d)
(e)

(f)

(9)

(h)

(i)

(i)

(k)

The following employees, among others, directly reported to me: Paul Sykes (black),
District Manager for 18th and Spruce, Philadelphia; and Benjamin Trinsey (white),
District Manager for East Center City, Philadelphia.

On April 12, 2018, two (2) black men were arrested at Respondents’ 18th and
Spruce, Philadelphia location.

The April 12, 2018 incident occurred at one (1) of the stores over which | was
Regional Director. | was not involved in the April 12, 2018 incident.

On April 12, 2018, Sykes alerted me of the incident and I alerted Hymes.

On April 14, 2018, protests began outside of Respondents’ 18th and Spruce,
Philadelphia location, as people protested the arrest of the black individuals.

On April 16, 2018, Respondents terminated Holly Hylton (white), Store Manager for
48th and Spruce, Philadelphia. Hylton had followed Respondents’ Safe and
Welcoming policies in handling the April 12, 2018 incident.

On April 18, 2018, Respondents announced that it will close 8,000 of its stores on
May 29, 2018 for racial bias training.

On April 23, 2018, Hymes encouraged me to apply for a Temporary Limited
Assignment position that was being created in Philadelphia to support Government
and Community Affairs.

On April 26, 2018, | interviewed with Shannon Boldizsar (white), Government and
Community Affairs, Senior Manager, for the Temporary Limited Assignment position.
Following the interview, | was told that Respondents had put the position on hold.

On May 2, 2018, Respondents reached a settlement with the two (2) black men wha
were arrested at Respondents’ 18th and Spruce, Philadelphia location. According to
Respondents’ website, “The agreement between the parties stemming from the

events in Philadelphia on April 12 will include a financial settlement as well as

continued listening and dialogue between the partles and specific action and
opportunity.” Respondents’ website also stated the following: “I want to thank Donte

and Rashon [the two (2) black men] for their willingness to reconcile,’ said Kevin
Johnson, ceo Starbucks. ‘| welcome the opportunity to begin a relationship with them

to share learnings and experiences. And Starbucks will continue to take actions that
stem from this incident to repair and reaffirm our values and vision for the kind of n,
company we want fo be.” =

On May 4, 2018, Hymes called me and told me to take the weekend off, and that shee = &
Smith, Williams, and Michael Scott (white), Regional Operations Coach, were visiting * Bere

;
the stores over which } was Regional Director. The stated reason was to speak with ys
employees at the stores, without me. Sem tm
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Initials of Charging Party —

(l) On May 7, 2018, | was called into a meeting with Hymes, Nathalte Cioffi (white),
Partner Resources Director, and Paul Pinto (white), Vice President, Partner
Resources, | was instructed to set up a meeting for the next morning with Trinsey
and place him on suspension. | was told that there would be an investigation into
Trinsey’s conduct, including allegations of race discrimination that had been made
against him. | objected, stating that Trinsey was not racist, and that | never heard or
observed any race discriminatory comments or conduct by Trinsey. | explained that
Trinsey had been an-employee of Respondents for approximately fifteen (15) years,
and that Trinsey volunteers every week at YouthBuild Philly, where he works
primarily with black individuals. Hymes stated that non-white salaried managers at
Trinsey's store had made claims that they were paid less than white employees. |
objected, stating that Trinsey had no input In salary or compensation decisions. |
explained that Respondents’ process is to send employees’ resumes to Partner
Resources, and that Partner Resources determines the salary for each employee.
Pinto then stated that, in my conversation with Trinsey, |-was not to make any
reference to pay and equity—that | was only to reference the volume and
seriousness of the allegations against him. | was instructed to tell Trinsey that the
investigation would be expedited as quickly as possible, that | would be his contact
person during the investigation, that he should not be in his stores or have contact
with his employees, and that { would tell-other employees that he was taking personal
time off. | was told that Brian Dragone (white), District Manager, would cover
Trinsey’s stores going forward.

(m) On May 8, 2018, Cioffi and | met with Trinsey, and informed him that Respondents
were placing him.on suspension, effective immediately. Trinsey was blindsided.

(n) Respondents suspended Trinsey while taking no action against Sykes, who was the
District Manager for 18th and Spruce, Philadelphia location.

(0) On May 8, 2018, ! was called into a meeting with Hymes. She informed me that |
would receive a meeting request to meat with her and Pinto the next day, and that |
should come prepared to negotiate what | would want in a separation package. | was
blindsided. Hymes stated that “the situation is not recoverable.” | understoad that
the “situation” to which Hymes was referring was the race-based situation stemming
from the April 12, 2018 incident at Respondents’ 18th and Spruce, Philadelphia
location. | told Hymes that rny performance has been exceptional, and that | received
bonuses in January and Apri) 2018, Hymes agreed.

On May 9, 2018, | was called into a meeting with Hymes and Pinto. My employment
was terminated, effective Immediately. | was presented with a separation agreement
and release of all claims. | refused to sign the agreement.

=

(p

({q) The stated reason for terminating my empioyment—that “the situation is not
recoverable"—~is code for the efforts by Respondents to discipline white, but not
black, employees, inan effort to project to Respondents’ employees and the public
‘that Respondents do not discriminate against blacks on the basis of race, as well as.
code for Respondents not tolerating complaints of race discrimination from managers
when the stated victim {s white. It is further an admission by Respondents that my
termination was @ result of the racially charged and much publicized arrest of two (2)
black individuals at Respondents’ 18th and Spruce, Philadelphia location.

(r) Respondents provided no explanation, including the selection criteria, as to why |
was terminated and the black employees were retained.
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EEOC Charge of Discrimination
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initials of Charging Party -

(s) | was terminated because | dm white. If | was black, | would not have been
terminated.

(t) | was terminated because | complained of and objected to race discrimination.

(u) Respondents did not provide me. with any option to remain employed with
Respondents.

(v) Respondents did not suspend or terminate Sykes.

(w) Linda Johnson (white), Regional Director, has taken over my job duties and
responsibilities. | am more qualified and experienced to perform my job duties and
responsibilities than Johnson.

(x) The-race discrimination and retaliation. because of my complaints of race
discrimination to which I have been subjected at Respondents has caused me
emotional distress.

B. 1. Respondents’ Stated Reasons

(a) Respondents’ stated reason for terminating my employment, that the situation
was not recoverable, is an admission of race discrimination and/or retaliation
because of my complaints of race discrimination and/or a statement made
because of my race.

Cc. 1. Statutes and Bases for Allegations

| believe that Respondents have discriminated against mo based on my race (white), and
have retallated against me because of my complaints of race discrimination in violation of
Title Vil of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e ef seq. ("Title
Vil"); the New Jersey Law Against Discrimination, as amended, N.J.S.A. § 10:5-1, et seq.
("NJLAD"); the Pennsylvania Human Relations Act, as amended, 43 P.S. § 951, ef seq.
("PHRA’); and the Philadelphia Fair Practices Ordinance, as amended, Phila. Cade § 9-
1100, et seg. (‘PFPO") as set forth herein. Respondents’ discriminatory conduct also

violated 42 U.S.C. § 1981 (“Section 1981”).
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INFORMATION FOR COMPLAINANTS & ELECTION OPTION
TO DUAL FILE WITH THE
PENNSYLVANIA HUMAN RELATIONS COMMISSION
Shannon Phillips v. Starbucks Corporation; Starbucks Coffee Company

EEOC No.

You have the right to file this charge of discrimination with the Pennsylvania Human Relations
Commission (PHRC) under the Pennsylvania Human Relations Act. Filing your charge with
PHRC protects your state rights, especially since there may be circumstances in which state
and federal laws and procedures vary in a manner which would affect the outcome of your
case.

Complaints filed with the PHRC must be filed within 180 days of the act(s) which you believe
are unlawful discrimination. If PHRC determines that your PHRC complaint is untimely, it
will be dismissed.

If you want your charge filed with the PHRC, including this form as part of your EEOC charge,
with your signature under the verification below, will constitute filing with the PHRC. You
have chosen EEOC to investigate your complaint, so PHRC will not investigate it and, in most
cases, will accept EEOC’s finding. If you disagree with PHRC’s adoption of EEOC’s finding,
you will have the chance to file a request for preliminary hearing with PHRC.

Since you have chosen to file your charge first with EEOC, making it the primary investigatory
agency, the Respondent will not be required to file an answer with PHRC, and no other action
with PHRC is required by either party, unless/until otherwise notified by PHRC.

If your case is still pending with PHRC after one year from filing with PHRC, you have the
right to file your complaint in state court. PHRC will inform you of these rights and

obligations at that time.
[Sign and date appropriate request below]

_X_ I want my charge filed with PHRC. | hereby incorporate this form and the verification
below into the attached EEOC complaint form and file it as my PHRC complaint. { request

EEOC to transmit it to PHRC.

X___ I understand that false statements in this complaint are made subject to the penalties of
18 Pa. C.S. § 4904, relating to unsworn falsification to authorities. (9 i 9

Xx (OU

Signature and Da gy
Ss 2.,
{do not want my charge dual filed with PHRC = & Bs
oy
Signature and Date ~ ae
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EXHIBIT 2
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EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

DISMISSAL AND NOTICE OF RIGHTS

Shannon Phillips From: Philadelphia District Office
Slat) On Nai B) 801 Market Street
Woolwich Township, NJ 08085 Suite 1300

Philadelphia, PA 19107

[ ] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
530-2018-03852 Legal Unit (215) 440-2828

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UO BOOOUO

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)

before you file suit may not be collectible.
Case. Commission
7 Mhanay — 7/30/2019

Enclosures(s) afhie R. Williamson, (Date Mailed)
District Director
ce: Danielle Mehallo Emily Derstine Friesen, Esq.
Starbucks CONSOLE MATTIACCI
c/o Littler Mendelson, GSC 1525 Locust Street, 9th Floor
2301 McGee Street, 8th Floor Philadelphia, NJ 19102

Kansas City, MO 64108
